               Case 2:17-cv-00712-RAJ Document 10 Filed 08/11/17 Page 1 of 3



                                                            THE HONORABLE RICHARD A. JONES
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 5
                                        U.S. DISTRICT COURT
 6                                WESTERN DISTRICT OF WASHINGTON
 7
     RANDI J. AUSTELL, individually and on behalf
 8   of all others similarly situated,
                                                           NO. 2:17-cv-00712-RAJ
 9                                Plaintiff,
                                                           STIPULATION AND [PROPOSED]
            vs.
10                                                         ORDER OF DISMISSAL PURSUANT
                                                           TO FEDERAL RULE OF CIVIL
11   RECEIVABLES PERFORMANCE
                                                           PROCEDURE 41(a)(1)(A)(ii)
     MANAGEMENT, LLC, a Washington limited
12   liability company,

13                                Defendant.
14

15          WHEREAS Plaintiff Randi J. Austell has agreed to voluntarily dismiss the above-
16   captioned lawsuit with prejudice as to her individual claims and without prejudice as to the
17   potential claims of any absent putative class members.
18          WHEREAS, Defendant Receivables Performance Management, LLC has filed and
19   served its answer to Plaintiff’s Complaint;
20          Therefore the parties agree and stipulate as follows, pursuant to Federal Rule of Civil
21   Procedure 41(a)(1)(A)(ii):
22                                             I.   STIPULATION
23          The above-captioned lawsuit shall be dismissed with prejudice as to Plaintiff Randi J.
24   Austell’s individual claims, and without prejudice as to the potential claims of any absent
25   putative class members. Each party shall bear their respective attorneys’ fees and costs of suit.
26          IT IS SO STIPULATED.
27
     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                                                        TERRELL MARSHALL LAW GROUP PLLC
     PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE                               936 North 34th Street, Suite 300
     41(A)(1)(A)(II) - 1                                                       Seattle, Washington 98103-8869
                                                                            TEL. 206.816.6603 • FAX 206.319.5050
     CASE NO. 2:17-CV-00712-RAJ                                                    www.terrellmarshall.com
              Case 2:17-cv-00712-RAJ Document 10 Filed 08/11/17 Page 2 of 3




 1          RESPECTFULLY SUBMITTED AND DATED this 11th day of August, 2017.
 2

 3   TERRELL MARSHALL LAW GROUP PLLC GORDON & REES LLP

 4   By: /s/ Adrienne D. McEntee, WSBA #34061        By: /s/ Elizabeth K. Morrison, WSBA #43042
          Beth E. Terrell, WSBA #26759                  Elizabeth K. Morrison, WSBA #43042
 5        Email: bterrell@terrellmarshall.com           Email: emorrison@gordonrees.com
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 8        Telephone: (206) 816-6603                     Telephone: (206) 695-5100
          Facsimile: (206) 319-5450                     Facsimile: (206) 689-2822
 9
     Attorneys for Plaintiff and the Proposed        Attorneys for Defendant
10
     Classes
11

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                                            II.   ORDER
15
            IT IS SO ORDERED.
16
            Dated this _____ day of _________________________, 2017.
17

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                                                  UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE                          936 North 34th Street, Suite 300
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               Case 2:17-cv-00712-RAJ Document 10 Filed 08/11/17 Page 3 of 3



                                      CERTIFICATE OF SERVICE
 1
            I, Adrienne D. McEntee, hereby certify that on August 11, 2017, I electronically filed the
 2
     foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 3
     such filing to the following:
 4

 5                  Elizabeth K. Morrison, WSBA #43042
                    Email: emorrison@gordonrees.com
 6                  Sean Flynn, WSBA #43386
                    Email: sflynn@gordonrees.com
 7                  Stephanie Hosey
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12

13                  Attorneys for Defendant

14          DATED this 11th day of August, 2017.
15                                            TERRELL MARSHALL LAW GROUP PLLC
16

17                                            By:     /s/ Adrienne D. McEntee, WSBA #34061
                                                    Adrienne D. McEntee, WSBA #34061
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                                              Attorneys for Plaintiff and the Proposed Classes
22

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27
     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                                                        TERRELL MARSHALL LAW GROUP PLLC
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